                           IN THE SUPREME COURT OF THE STATE OF NEVADA


                    JETTA ELAINE ARBUCKLE,                                No. 69018
                                      Appellant,
                                  vs.
                    DAVID MICHAEL ARBUCKLE,
                                           Respondent.
                    JETTA ELAINE ARBUCKLE,                                No. 69032
                                      Appellant,
                                  vs.
                    DAVID MICHAEL ARBUCKLE,                                      FILED
                                      Respondent.
                                                                                 MAR 09 2016
                                                                                TRACE K. LINDEMAN
                                                                             CLERK OF SUPREME COURT
                                                                            BY
                                        ORDER DISMISSING APPEALS                 DEPUTY CLERK



                               Pursuant to the stipulation of the parties, and cause
                    appearing, these consolidated appeals are dismissed. The parties shall
                    bear their own costs and attorney fees. NRAP 42(b).
                               It is so ORDERED.'

                                                             CLERK OF THE SUPREME COURT
                                                             TRACE K. LINDEMAN

                                                             BY:


                    cc: Hon. Rebecca L. Burton, District Judge
                         Legal Aid Center of Southern Nevada, Inc.
                         Lewis Roca Rothgerber Christie LLP/Las Vegas
                         Webster &amp; Associates
                         Eighth District Court Clerk

                         'In light of this order, no action will be taken on the motions that
                    remain pending in these appeals.

 SUPREME COURT
      OF
    NEVADA


CLERK'S ORDER

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